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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X

UNITED STATES OF AMERICA                                              :

          -v.-                                                        :      18 Cr. 602 (WHP)

MICHAEL COHEN,                                                        :

                              Defendant.                              :

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X




      THE GOVERNMENT’S OPPOSITION TO DEFENDANT MICHAEL COHEN’S
                MOTION FOR A SENTENCING REDUCTION




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                                          PRELIMINARY STATEMENT

          The United States Attorney’s Office for the Southern District of New York (the “Office”

or “SDNY”) respectfully submits this brief in opposition to defendant Michael Cohen’s motion

for a reduction in his sentence pursuant to Federal Rule of Criminal Procedure 35(b). As set forth

below, the text of Rule 35 makes clear that such a reduction may be granted only upon motion of

the Government, whose decision not to file such a motion is entitled to considerable deference and

is reviewable only where the defendant has made a threshold showing that it was based on an

unconstitutional or irrational motive. Cohen has failed to make such a showing. Cohen has offered

no evidence that he provided substantial assistance to this Office in the investigation or prosecution

of others. To the contrary, the Office reasonably determined that Cohen did not provide substantial

assistance after his sentencing both based on the nature and scope of the information provided and

because of substantial concerns about Cohen’s credibility as a witness. Moreover, to the extent

Cohen seeks to rely on his Congressional testimony and provision of information to state and local

law enforcement authorities, none of those activities warrant a sentencing reduction, as the Second

Circuit has made clear that, in this context, “substantial assistance” refers to assistance to federal

prosecutors. The Court should deny Cohen’s motion without a hearing.
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                                 FACTUAL BACKGROUND

A.     Cohen’s Offense Conduct and Pleas

       Between 2012 and 2017, Cohen committed what this Court has described as a “veritable

smorgasbord of fraudulent conduct.” (Transcript of Dec. 12, 2018 Sentencing (“Sent. Tr.”) at 34).

He evaded income taxes by failing to report more than $4 million in income during tax years 2012

through 2016. (See Presentence Investigation Report dated Dec. 4, 2018 (“PSR”) at ¶¶ 18-27).

He lied to multiple banks to obtain financing on favorable terms. (PSR ¶¶ 28-35). He violated

campaign finance laws by carrying out two complex schemes to purchase the rights to stories –

each from women who claimed to have had an affair with a Presidential candidate – so as to

suppress the stories and thereby prevent them from influencing the Presidential election. (PSR

¶¶ 36-56). And, in 2017, he lied to the United States Congress in sworn testimony. (PSR ¶¶ 62-

73).

       For this conduct, Cohen ultimately pled guilty to nine separate counts: (i) five counts of

tax evasion, in violation of 26 U.S.C. § 7201; (ii) one count of making a false statement to a

financial institution, in violation of 18 U.S.C. § 1014; (iii) two counts of making unlawful

campaign contributions, in violation of 52 U.S.C. § 30109(d)(1)(A); and (iv) one count of making

a false statement to the Congress, in violation of 18 U.S.C. § 1001(a)(2). Cohen pled guilty to the

first eight counts on August 21, 2018, pursuant to a plea agreement with the SDNY. He pled guilty

to the ninth count on November 29, 2018, pursuant to a plea agreement with the Special Counsel’s

Office (“SCO”). The cases were consolidated for sentencing.

B.     Cohen’s Pre-Sentencing Attempts to Cooperate and Cohen’s Sentencing

       On August 7, 2018, before he had been charged in the SDNY, Cohen met with the SCO at

his own request, ostensibly to provide information relevant to their inquiry. (See Sentencing




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Submission by the Special Counsel’s Office, Dec. 7, 2018 (“SCO Sent. Br.”) at 3). Cohen lied to

the SCO at that meeting, repeating many of the prior false statements he had made to the Congress.

(Id. at 3). Only after Cohen had been charged by SDNY and pled guilty to eight felony counts did

his cooperation with the SCO begin in earnest. (Id. at 3-4). Cohen’s post-plea, pre-sentencing

cooperation with the SCO was set forth in the SCO’s submission in advance of sentencing. (Id. at

5-7).

        Prior to his sentencing, Cohen also made attempts to cooperate with the SDNY. However,

as previously set forth in the Government’s sentencing memorandum, Cohen sought to provide

information only about certain subjects, and repeatedly declined to provide full information about

the scope of any additional criminal conduct in which he may have engaged or had knowledge.

(See Sentencing Submission by SDNY, Dec. 7, 2018 (“SDNY Sent. Br.”) at 15-17). Because of

Cohen’s choice not to fully cooperate, and the SDNY’s commensurate inability to fully evaluate

his reliability as a witness, the SDNY declined to enter into a cooperation agreement with Cohen

or move for a sentencing reduction under U.S.S.G. § 5K1.1. (Id.). Nevertheless, the SDNY

acknowledged Cohen’s provision of information to the SCO, and cited it as a basis for a modest

downward variance from the applicable Guidelines range at his sentencing. (Id. at 1-2, 17).

        Cohen’s sentencing submission relied heavily on his provision of information to the SCO

and other law enforcement entities. (See, e.g., Sentencing Submission of Michael Cohen, Nov.

30, 2018 (“Cohen Sent. Br.”) at 1-5). At sentencing, the Court carefully considered the parties’

submissions regarding Cohen’s attempts at cooperation. (See, e.g., Sent. Tr. 34-35). The Court

made clear that Cohen “should receive some credit for providing assistance to the Special

Counsel’s Office.” (Id. at 34). The Court also noted, however, that Cohen had “selected the

information he disclosed to the government.” (Id. at 35). Ultimately, the Court imposed a sentence




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of 36 months’ imprisonment on the charges in the SDNY case, which represented a downward

variance from the applicable Guidelines range of 51 to 63 months’ imprisonment. (Id. at 5, 36).

The Court also imposed a concurrent sentence of two months’ imprisonment on the charge in the

SCO case. (Id. at 36).

C.     Cohen’s Post-Sentencing Attempts to Cooperate with the SDNY and His Public
       Statements

       Shortly after being sentenced to 36 months’ imprisonment, Cohen contacted the Office,

through counsel, seeking to proffer in the hope of obtaining a sentencing reduction under Rule 35.

Cohen then met with representatives of the Office and FBI agents on two occasions – January 21

and February 7, 2019 – and provided information about various subjects. During those proffers,

Cohen made material false statements.

       For example, during one post-sentencing proffer with this Office, Cohen denied seeking a

position in the incoming Presidential Administration after the 2016 election stating, in substance,

that he “did not want to move to Washington D.C.” and that he “had no actual interest in being

Attorney General or Trump’s Chief of Staff.” (See Ex. 1 (relevant excerpt of FBI-302)). 1 These

statements were demonstrably false. Indeed, in a television interview filmed days after the 2016

election, which Cohen had promoted on his own Twitter account, Cohen made clear his desire for

a position in the new administration. When the host raised the question of whether Cohen would

be named to a position in the new administration and suggested that the President would ask Cohen

to serve a role in Washington, Cohen responded: “Oh I certainly hope so. . . . One hundred



1
  Lest there be any doubt as to the accuracy of the FBI’s notes of Cohen’s proffer statements,
Cohen repeated the substance of them on numerous occasions during his subsequent Congressional
testimony. See Ex. 3 (Excerpts of Transcript of February 27, 2019 Hearing before the House of
Representatives, Committee on Oversight and Reform), at 25 (“I did not want to go to the White
House.”), 57 (same), 126 (“I did not want a role in the new administration. … I got exactly what I
wanted.”), 145 (“I did not want a role or title in the administration.”).


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percent.” Later, when the host said he looks forward to seeing what Cohen’s future holds, Cohen

responded: “Hopefully it will be in Washington.” 2 Cohen had been even more specific about his

wishes in his private communications. For example, on Election Day 2016, Cohen told one friend

(Person-1) that he would take her with him to the White House as “Asst to chief of staff,” and told

another person (Person-2) that being named Chief of Staff “would be nice.” (Ex. 2 at 1). 3 On

November 12, 2016, Cohen exchanged a series of text messages with another person (Person-3),

discussing how Reince Priebus was being considered for the position of Chief of Staff and

evaluating whether Cohen “still ha[s] a chance.” Then, on the afternoon of November 13, 2016,

it was announced that Priebus would in fact be named Chief of Staff. Shortly thereafter, Person-3

sent Cohen a message asking: “You ok?” Cohen responded: “Yes. Disappointed but understand

why.” (Ex. 2 at 1-2).     Moreover, Cohen’s desire for the role persisted: In May 2017, while

discussing the potential candidates for any opening in the Chief of Staff position with a then-

current administration official (Person-4), Cohen floated his own name and asked Person-4 to

remind the President of Cohen’s loyalty and to “keep my name in range [sic] loop please.” (Ex. 2

at 3-5; see also id. at 5 (Cohen suggesting in January 2018 that he would be Chief of Staff in “3 to

4 months”)). 4

       In late February and early March 2019, while the Office was in the process of evaluating



2
  See CNN, Chris Cuomo Interview of Michael Cohen, November 10, 2016, at 8:30 et seq.,
available at https://www.snappytv.com/tc/3219739.
3
  Exhibit 2 consists of the relevant portions of text message exchanges between Cohen and certain
individuals, whose identities have been anonymized to respect their privacy. The messages were
recovered from one of Cohen’s cell phones pursuant to a search warrant.
4
 Although not necessary to the instant inquiry, these false statements were also material, because,
among other things, truthful answers to questions about his efforts to obtain a position within the
Administration (and his disappointment at failing to do so) bore directly on Cohen’s credibility,
potential biases and incentives to provide truthful information.


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the information provided by Cohen at his two post-sentencing proffers, Cohen voluntarily testified

before several committees of the United States Congress. After that testimony, members of one

committee made a criminal referral for perjury, citing apparent contradictions between Cohen’s

testimony and his guilty pleas and certain filings in the SDNY case.

       Moreover, throughout the period of his purported cooperation, Cohen and his surrogates

made a litany of public comments about his SDNY case, many of which minimized his acceptable

of responsibility for conduct to which he had pled guilty and were inconsistent with his pleas or

other undisputed facts. To list just a few examples:

       •       Cohen repeatedly sought to walk back his own guilty pleas. For example, in a
       private conversation recorded by the other party, Cohen, referring to his case, claimed that
       “[t]here is no tax evasion. . . . It’s a lie.” 5 (But see Transcript of August 21, 2018 Guilty
       Plea (“Plea Tr.”) at 21-22).

       •      The day after his sentencing, Cohen gave a televised interview during which he
       described his role in one of the campaign finance charges by saying: “I just reviewed the
       documents.” 6 (But see Plea Tr. 23).

       •       In a lawsuit against the Trump Organization seeking indemnification, Cohen
       claimed that all eight of the charges against him in this case “arose from conduct
       undertaken by Mr. Cohen in furtherance of and at the behest of the Trump Organization
       and its principals, directors, and officers.” (Dkt. 51, Ex. F to Cohen’s Motion, at ¶ 53).
       Yet leaving the campaign finance offenses aside, the five counts of tax evasion and one
       count of false statements to a financial institution to which Cohen pled guilty were
       indisputably related to Cohen’s own personal finances and had nothing to do with the
       Trump Organization. (See PSR ¶¶ 18-35).




5
  See CNN, Secretly Recorded Audio Surfaces of Cohen Walking Back Plea, available at
https://www.cnn.com/videos/politics/2019/04/24/michael-cohen-phone-call-plea-deal-audio-
vpx.cnn.
6
  See ABC News, George Stephanopoulos Interview of Michael Cohen, December 13, 2018, at
7:00 et seq., available at https://abcnews.go.com/US/video/michael-cohen-extended-cut-
59830461.


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       Based on the foregoing concerns, the Office declined Cohen’s repeated requests for further

proffer sessions, informing his counsel on several occasions that the Office believed that Cohen

was not a credible witness.

                                       APPLICABLE LAW

       The Federal Rules of Criminal Procedure provide that:

       Upon the Government’s motion made within one year of sentencing, the court may
       reduce a sentence if the defendant, after sentencing, provided substantial assistance
       in investigating or prosecuting another person.

Fed. R. Crim. P. 35(b). As the text of Rule 35 makes clear, such a sentencing reduction may be

granted only upon a motion by the Government. See United States v. Scarpa, 861 F.3d 59, 67 (2d

Cir. 2017) (“The ‘[u]pon the government’s motion’ language in Rule 35(b) thus ‘imposes the

condition of a Government motion upon the district court’s authority.’” (quoting Wade v. United

States, 504 U.S. 181, 185 (1993))). The Second Circuit has held that, in this context, “the

Government” refers to “the attorney representing the government” – that is, “the prosecutor.”

United States v. Difeaux, 163 F.3d 725, 728 (2d Cir. 1998); see also United States v. Ming He, 94

F.3d 782, 789 (2d Cir. 1996) (“The decision to move for a downward departure for substantial

assistance rests in the exclusive discretion of federal prosecutors.”).7

       “[W]hether a defendant’s cooperation has risen to the level of ‘substantial assistance’ to

the government is self-evidently a question that the prosecution is uniquely fit to resolve.” United

States v. Huerta, 878 F.2d 89, 93 (2d Cir. 1989). Thus, the Government’s evaluation of a

defendant’s cooperation is entitled to “considerable deference” and is subject only to “limited



7
  The Second Circuit has made clear that the provisions of Rule 35, Section 5K1.1 of the
Guidelines, and 18 U.S.C. § 3553(e) that relate to sentencing leniency should be construed
similarly, given the common language of these provisions. See, e.g., Scarpa, 861 F.3d at 67;
United States v. Gangi, 45 F.3d 28, 30-31 (2d Cir. 1995).



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review.” United States v. Knights, 968 F.2d 1483, 1487-88 (2d Cir. 1992). 8 Although a showing

of substantial assistance “is a necessary condition for relief, it is not a sufficient one, because the

Government has a power, not a duty, to make a substantial-assistance motion.” Scarpa, 861 F.3d

at 67 (quoting Wade, 504 U.S. at 185, 187). In exercising its discretion, the Government may

weigh “the cost and benefit that would flow from moving,” and “it is not the office of the court to

weigh the equities or reassess the facts underlying the government’s exercise of its discretion.” Id.

at 68-69 (quotation omitted).

       A district court may review a prosecutor’s refusal to file a substantial-assistance motion

only where it finds that “the refusal was based on an unconstitutional motive” such as “race or

religion,” or if the refusal “was not rationally related to any legitimate Government end.” Wade,

504 U.S. at 185-86. Moreover, mere allegations that the defendant provided substantial assistance

or of an improper motive “will not entitle a defendant to a remedy or even to discovery or an

evidentiary hearing.” Id. at 186. Rather, the defendant must make a “substantial threshold

showing” of an improper motive, see id., at which point the Government would be entitled to rebut

such a claim and the district court would have substantial discretion as to whether a hearing is

required and what form that hearing might take. See Knights, 968 F.2d at 1487. 9



8
 This is not a case where the defendant had a cooperation agreement in which the Government
promised to make such a motion, which would give rise to “more searching review” to determine
whether the Government lived up to its end of the bargain. See United States v. Brechner, 99 F.3d
96, 99 (2d Cir. 1996).
9
  Cohen’s motion references the First Step Act, appearing to argue that the extent of his requested
reduction under Rule 35 is limited, because Cohen may be entitled to certain credits under that
Act. (Adler Aff. ¶¶ 18-21). But Cohen is not entitled to any reduction of his sentence, regardless
of its scope, under Rule 35. And to the extent that Cohen’s motion might be construed as seeking
a “modification” of his sentence, under the First Step Act or otherwise, to a designation to home
confinement (which he is almost certainly not eligible for at this time), his request for relief must
first be directed to the Bureau of Prisons. See, e.g., 18 U.S.C. §§ 3621; 3624(c) United States v.
Urso, 2019 WL 5423431, at *1 (E.D.N.Y. Oct. 23, 2019); United States v. Hagler, 2019 WL


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                                           DISCUSSION

A.      The SDNY Has Determined That Cohen Has Not Provided Substantial Assistance,
        and Cohen Has Not Made Any Showing of an Improper Motive for that
        Determination

        Cohen’s provision of information to this Office clearly does not rise to the level of

“substantial assistance.” It has not resulted, either directly or indirectly, in the prosecution of any

individuals. It has not led to the discovery of any evidence used in the prosecution of others. And

apart from conclusory assertions about the importance of his information, Cohen’s various

submissions have failed to identify a single way in which Cohen’s proffers have actually assisted

in the investigation or prosecution of another, as Rule 35 requires. This is not a case, therefore,

where the defendant can point to tangible law enforcement results directly stemming from his

cooperation to argue that the Government has withheld cooperation credit in bad faith. See, e.g.,

Scarpa, 861 F.3d at 60 (defendant argued that his information led to recovery of a cache of

explosives); Knights, 968 F.2d at 1485 (defendant testified at trial of co-defendant). Particularly

absent such tangible results, as the Second Circuit has made clear, prosecutors, not the defendant

or his counsel, are “uniquely fit” to assess the question of whether a defendant’s cooperation rises

to the level of substantial assistance. Huerta, 878 F.2d at 93. On this record, it was not a close

call.

        Unable to articulate how he has advanced the investigation or prosecution of another,

Cohen instead relies on high-level, conclusory assertions of proffered cooperation and further

alleges, with no discernable factual basis, that the Department of Justice – from the Attorney

General down to the line prosecutors in this Office – has acted in bad faith in withholding




2393861, at *1 (N.D. Ind. June 4, 2019); Rizzolo v. Puentes, 2019 WL 1229772, at *3 (E.D. Cal.
Mar. 15, 2019).


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cooperation credit.     Cohen offers no evidence for these accusations, instead resorting to a

scattershot of ad hominem attacks and irrelevant political bromides. These extravagant claims of

bad faith are exactly the sort of “generalized allegations of improper motive” that will not trigger

the right to a remedy “or even to discovery or an evidentiary hearing.” Wade, 504 U.S. at 186; see

also Knights, 968 F.2d at 1487.

       To be clear, no political or otherwise improper motive played any role in the Office’s

decision regarding Cohen’s cooperation. Rather, as this Office has repeatedly informed Cohen’s

counsel, this Office determined that Cohen was not able to provide “substantial assistance” in the

investigation or prosecution of others because Cohen’s own words and actions (and those of his

authorized surrogates) had given rise to very substantial concerns about Cohen’s credibility as a

witness. It bears mention, in this respect, that at the time Cohen began his attempt at post-

sentencing cooperation, the Office’s concerns about his credibility had not only been directly

communicated to him but were already a matter of public record. (See, e.g., SDNY Sent. Br. 27).

Cohen had been convicted of lying on his taxes, to banks, and to the Congress; had knowingly

rejected the path of traditional cooperation in this District; and had repeatedly sought to minimize

his own conduct before his sentencing. Nevertheless, at Cohen’s request, and after he was

sentenced to 36 months’ imprisonment, the Office gave Cohen yet another chance at providing

substantial assistance. As was made clear to him at the outset of his post-sentencing efforts at

cooperation, Cohen not only had to be able to provide useful information, but he had to take steps

to preserve what was left of his credibility so as to be useful as a witness.

       Nevertheless, Cohen then made numerous false statements and repeatedly minimized his

own conduct in both his post-sentencing proffers with the Office and his public statements, as set

forth above. (See pp. 4-6, infra). The Second Circuit has made clear that false statements by a




                                                  10
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defendant during the period of his cooperation – even where swiftly corrected – are “highly

relevant to the quality of his cooperation,” and that the Government acts well within its ample

discretion in determining that such lies can fatally undermine the defendant’s utility as a witness.

See, e.g., Brechner, 99 F.3d at 99-100. Cohen’s demonstrable lies to this Office during the period

of his attempted cooperation are thus sufficient, standing alone, to confirm this Office’s good faith

in refusing to utilize him as a cooperating witness. 10

       To be sure, the Government often relies on cooperating defendants with significant

criminal histories or prior instances of dishonesty. But in those cases, a necessary precondition to

substantial assistance is the defendant’s acceptance of responsibility for his crimes and

commitment to tell the truth during his cooperation. To the extent Cohen might have been able to

provide substantial assistance, those efforts were completely undermined by his inability to be

truthful both with this Office and in his public statements. Even after his sentencing, Cohen never

made a meaningful effort to engage in serious cooperation but instead engaged in a protracted

public relations campaign, in which he sought to cast himself as both victim and hero, aimed at

creating the appearance of cooperation. But no amount of public posturing may substitute, under

Rule 35, for providing truthful and useful information to the Government.

       Given these repeated lies and minimizations, the Office had an entirely appropriate, good

faith basis to determine that Cohen could not be used as a witness or relied upon to provide




10
   Moreover, Cohen’s lies and minimization continue to this day. In this very motion, Cohen once
again attempts to blame his tax evasion on his accountant. (Cohen Aff. ¶ 4). Cohen’s counsel’s
affidavit describes the campaign finance charges to which he pled guilty as “tacked on the back
end” of the other charges, and seems to argue that he should not have been liable for these crimes
given his lack of an official position in the campaign. (Adler Aff. ¶¶ 5-6, 69). And Cohen’s counsel
even alleges that Cohen pled guilty only after “the Government reportedly threatened to prosecute
his wife” (Adler Aff. ¶ 68), even though this is patently false and contrary to Cohen’s sworn
allocution (Plea Tr. 20).


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substantial assistance in the investigation and prosecution of others.

B.     Cohen’s Assistance to the Congress and/or State and Local Authorities Is Not a
       Basis for a Rule 35 Motion

       Cohen’s motion also suggests in various places that he should be entitled to a sentencing

reduction for purported assistance that he provided to the United States Congress and various state

and local law enforcement entities. (See, e.g., Davis Aff. ¶ 1; Cohen Aff. ¶¶ 14-16). Even

assuming that Cohen had provided “substantial assistance” to one or more such entity, that still

would not provide a basis for relief under Rule 35.

       As noted above, the text of Rule 35 imposes as a condition of relief a motion by “the

Government,” and the Second Circuit has held that, in this context, “the Government” refers to

“the attorney representing the government” – that is, “the prosecutor.” Difeaux, 163 F.3d at 728;

see also Ming He, 94 F.3d at 789 (“The decision to move for a downward departure for substantial

assistance rests in the exclusive discretion of federal prosecutors.”). In particular, assistance to

state or local law enforcement authorities cannot form the basis of a substantial assistance motion.

United States v. Kaye, 140 F.3d 86, 87-88 (2d Cir. 1998). And Cohen offers no support for the

novel legal proposition that Congressional testimony may amount to “substantial assistance in

investigating or prosecuting another person,” as required by Rule 35. Voluntary Congressional

testimony is more closely analogous to the sort of “civic duty” that the Second Circuit has held

does not ordinarily justify a sentencing departure. See United States v. Korman, 343 F.3d 628,

631 (2d Cir. 2003); see also United States v. Brisbon, 184 F. Supp. 2d 1379, 1382 (S.D. Ga. 2002)

(making public service announcement does not justify Rule 35 relief); United States v. Fredericks,

787 F. Supp. 79, 82 (D. N.J. 1992) (speaking at three seminars does not justify Rule 35 relief).




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Moreover, Cohen himself testified to a contrary understanding in his sworn Congressional

testimony:

     The Rule 35 motion is in the complete hands of the Southern District of New York. And
     the way the Rule 35 motion works is, what you’re supposed to do, is provide them with
     information that leads to ongoing investigations. . . . If those investigations become fruitful,
     then there’s a possibility for a Rule 35 motion. And I don’t know what the benefit in terms
     of time would be, but this Congressional hearing today is not going to be the basis of
     a Rule 35 motion. I wish it was, but it’s not.

Ex. 3 at 101-02 (emphasis added). Having disavowed, in sworn testimony, any intent or ability to

rely on his Congressional testimony to seek a sentencing reduction, it is remarkable for Cohen to

now do exactly the opposite.

         In sum, Cohen’s efforts to assist other entities – whatever the value of those efforts – do

not merit relief under Rule 35. 11

                                            CONCLUSION

         For the reasons set forth above, the Office respectfully requests that this Court deny

Cohen’s motion without a hearing.

Dated:     December 19, 2019
           New York, New York

                                                Respectfully submitted,

                                                AUDREY STRAUSS
                                                Acting United States Attorney

                                      By:
                                                Thomas McKay
                                                Nicolas Roos
                                                Andrea Griswold
                                                Assistant United States Attorneys


11
   Cohen also briefly highlights his assistance to the Special Counsel’s Office between August
2018 and November 2018. (See, e.g., Davis Aff. ¶¶ 3-4). However, as noted above, Cohen was
given credit for that assistance at sentencing. (Sent. Tr. 34). To the extent that Cohen is attempting
to rely on this, or any other, pre-sentencing cooperation, it is not a basis for a further reduction.
See United States v. Katsman, 905 F.3d 672, 674 (2d Cir. 2018).


                                                   13
